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11
12                             UNITED STATES DISTRICT COURT
13                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
14                                   WESTERN DIVISION
15
16 FRANK ROCHA, et al.,
17               Plaintiffs,                       Case No. 2:24-cv-07054-DSF-AJR
18                      v.
                                                   UNOPPOSED MOTION FOR LEAVE
19   U.S. IMMIGRATION AND                          FOR TELEPHONIC APPEARANCE AT
     CUSTOMS ENFORCEMENT,                          SCHEDULING CONFERENCE
20
                 Defendant.
21
22
23         Plaintiffs moves the court for leave to allow Plaintiffs’ counsel’s telephonic
24   appearance at the January 6, 2024, 11:00 a.m. scheduling conference in this case.
25   Plaintiffs are aware of the Court’s general rule that counsel must be present at scheduling
26   conferences. However, Plaintiffs’ lead counsel in this case, Jeremy Jong, resides and
27   works in New Orleans, Louisiana. In addition, counsels’ employer, Al Otro Lado, is a
28   non-profit legal services organization. ECF No. 3 ¶ 23. The parties have also made
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 1   significant progress towards resolving key issues in this case and do not expect to make
 2   legal arguments at the forthcoming scheduling conference in this case. The anticipated
 3   simplicity of the scheduling conference, the distance that Plaintiffs’ counsel would have
 4   to travel and the expense to counsel’s nonprofit employer constitute extraordinary
 5   circumstances to allow telephonic appearance in this case. Defendant does not oppose
 6   this motion.
 7    Dated: December 20, 2024
                                            /s/ Jeremy Jong
 8
                                           JEREMY JONG*
 9                                         DIEGO ARANDA TEIXEIRA
10                                         Al Otro Lado, Inc.

11                                         Attorneys for Plaintiffs Frank Rocha and
12                                         Al Otro Lado, Inc.

13                                         *Admitted Pro Hac Vice
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